Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 1 of 158 PageID #: 236




                      EXHIBIT 2
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 2 of 158 PageID #: 237

               Case 12-50947-CSS           Doc 13-10        Filed 11/01/12       Page 2 of 16



                                                                                        Execution Copy


                            AMENDMENT NO.4 TO CREDIT AGREEMENT

               This AMENDMENT NO.4 TO CREDIT AGREEMENT dated as of August 21, 2009
       (this "Amendment"), to the Amended and Restated First Lien Secured Super-Priority Debtor In
       Possession and Exit Credit and Guaranty Agreement, dated as of May 15, 2007 (as amended by
       that certain Limited Waiver and Amendment No. I to Credit Agreement and Pledge and Security
       Agreement, dated as of May 29, 2007, as further amended by that certain Amendment No.2 to
       Credit Agreement, dated as of June 12, 2007 and that certain Amendment No. 3 to Credit
       Agreement, dated as of April 17, 2008, the "Credit Agreement"), by and among ALLIED
       SYSTEMS HOLDINGS, INC. (formerly known as Allied Holdings, Inc.), a Delaware
       corporation ("Holdings"), ALLIED SYSTEMS, LTD. (L.P.), a Georgia limited partnership
       ("Systems" and, together with Holdings, the "Borrowers"), and CERTAIN SUBSIDIARIES
       OF THE BORROWERS, the Lenders party thereto from time to time, GOLDMAN SACHS
       CREDIT PARTNERS L.P., as Lead Arranger and as Syndication Agent and THE CIT
       GROUPIBUSINESS CREDIT, INC. as Administrative Agent (together with its permitted
       successors in such capacity, "Administrative Agent") and as Collateral Agent.

                                                 RECITALS:

               WHEREAS, the Credit Agreement currently allows Sponsor and its Affiliates (other than
       the Borrowers and their Subsidiaries) to become Lenders by purchasing and assuming the rights
       and obligations of one or more Lenders under the Credit Agreement, but only if Sponsor and/or its
       Affiliates contribute such rights and obligations to the Borrowers in the form of capital
       contributions;

              WHEREAS, Requisite Lenders have agreed (a) to amend the Credit Agreement to permit
       Sponsor and its Affiliates to be Lenders under the Credit Agreement without any requirement to
       contribute Loans or Commitments to the Borrowers and (b) to consent to make certain other
       modifications thereto, in each case, in the manner, and subject to the terms and conditions,
       provided for herein.

              NOW, THEREFORE, in consideration of the premises and the agreements, provisions
       and covenants herein contained, the parties hereto agree as follows:

       SECTION 1. DEFINITIONS

               1.1     All capitalized terms used herein (including in the introductory paragraph and
       Recitals set forth above) and not otherwise defined shall have the meanings assigned to such terms
       in the Credit Agreement.

      SECTION 2. AMENDMENTS TO CREDIT AGREEMENT

               2.1     Amendments to Section J: Definitions.

                             (a)     Section 1.1 of the Credit Agreement is hereby amended by inserting
      the following definition therein:



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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 3 of 158 PageID #: 238

               Case 12-50947-CSS             Doc 13-10        Filed 11/01/12        Page 3 of 16




                              " "Fourth Amendment" means that certain Amendment No. 4 to the
             Credit Agreement, dated as of August 21, 2009, by and among the Borrowers, certain
             Subsidiaries of the Borro\-vers and the Lenders parties thereto."

                               (b)     Section 1.1 of the Credit Agreement is hereby further amended by
       deleting the definitions of "Eligible Assignee" and "Term Loan Exposure" in their entirety and
       inserting in lieu thereof the following:

                            " "Eligible Assignee" means (i) any Lender, any Affiliate of any Lender
              and any Related Fund (any two or more Related Funds being treated as a single Eligible
              Assignee for all purposes hereot), and (ii) any commercial bank, insurance company,
              investment or mutual fund or other entity that is an "accredited investor" (as defined in
              Regulation D under the Securities Act) and which extends credit or buys loans; provided,
              neither Borrowers nor any of their Subsidiaries shall be an Eligible Assignee."

                              " "Term Loan Exposure" means, with respect to any Lender, as of any
              date of determination, the outstanding principal amount of the Term Loans of such Lender
              plus during the Term Loan Commitment Period, the unfunded Term Loan Commitment of
              such Lender; provided, at any time prior to the making ofthe initial Term Loans, the Term
              Loan Exposure of any Lender shall be equal to such Lender's Term Loan Commitment,"

              2.2     Amendments to Section 5: Affirmative Covenants.

                              (a)     Section 5.1 of the Credit Agreement is hereby amended by deleting
       the following at the end of clause (a) thereof:

              "and together with such financial statements, a written report certified by an Authorized
              Officer of Holdings identifYing (i) the aggregate amount ofTenn Loans and Second Lien
              Term Loans acquired by any Restricted Sponsor Affiliate during such month (and with
              respect to the first month of any Fiscal Quarter, the amount of Term Loans and Second
              Lien Term Loans acquired in the last month of the preceding Fiscal Quarter), together with
              the date of, and purchase price for, each such acquisition and (ii) the aggregate principal
              amount of Term Loans and Second Lien Term Loans held by any Restricted Sponsor
              Affiliates as of the last day of such month;"

              2.3     Amendments to Section 8: Events of Default; Carve-Out Event.

                               (a)      Section 8.1 of the Credit Agreement is hereby amended by deleting
       clause (aa) thereof in its entirety.

              2.4     Amendments to Section 10: Miscellaneous.

                                (a)     Section 10.5 of the Credit Agreement is hereby amended by deleting
       clause (e) thereof in its entirety.

                               (b)      Section 10.6 ofthe Credit Agreement is hereby amended by deleting
       clause (b) thereof in its entirety and inserting the following in lieu thereof:

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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 4 of 158 PageID #: 239

             Case 12-50947-CSS              Doc 13-10        Filed 11/01/12        Page 4 of 16




               "(b)     Register. The Borrowers, Administrative Agent and Lenders shall deem and treat
               the Persons listed as Lenders in the Register as the holders and owners of the corresponding
               Commitments, LC Deposits and Loans listed therein for all purposes hereof, and no
               assignment or transfer of any such Commitment, LC Deposit or Loan shall be effective, in
               each case, unless and until recorded in the Register following receipt of an Assignment
               Agreement effecting the assignment or transfer thereof, in each case, as provided in
               Section I 0.6( d); provided, however, any Assignment Agreement that is not recorded in the
               Register within the time period required by the following sentence shall be deemed
               effective and recorded in the Register and the assignee thereof shall be deemed a Lender
               for all purposes under this Agreement in each case at the end of such time period. Each
               assignment shall be recorded in the Register on the Business Day the Assignment
               Agreement is received by Administrative Agent, ifreceived by 12:00 noon New York City
               time, and on the following Business Day ifreceived after such time, prompt notice thereof
               shall be provided to the Borrowers and a copy of such Assignment Agreement shall be
               maintained, as applicable. The date of such recordation of a transfer shall be referred to
               herein as the "Assignment Effective Date." Any request, authority or consent of any
               Person who, at the time of making such request or giving such authority or consent, is listed
               in the Register as a Lender shall be conclusive and binding on any subsequent holder,
               assignee or transferee of the corresponding Commitments, LC Deposits or Loans."

                              (c)     Section 1O.6(c) of the Credit Agreement is hereby amended by
       deleting the following at the end of the first sentence of clause (ii) thereof:

               "; provided further, that (x) no Lender may sell, assign or transfer or otherwise convey any
               of its rights and obligations under this Agreement (including the Commitments, the LC
               Deposits or the Loans) to a Restricted Sponsor Affiliate and no Restricted Sponsor
               Affiliate shall acquire any such rights or obligations, in each case if (A) immediately prior
               to and after giving effect to such assignment or transfer the aggregate amount of the Term
               Loan Exposure held or beneficially owned by all Restricted Sponsor Affiliates would
               exceed 25% of the aggregate amount of the Term Loan Exposure held or beneficially
               owned by all Lenders (including Restricted Sponsor Affiliates) or (B) after giving effect to
               such assignment or transfer, the aggregate amount of Term Loans acquired by all
               Restricted Sponsor Affiliates since the Closing Date would exceed $50 million
               (notwithstanding whether all or any portion of such acquired Term Loans have been
               contributed to the Borrowers or otherwise disposed of by the Restricted Sponsor Affiliates)
               and (y) assignments by or to a Restricted Sponsor Affiliate shall be further subject to
               Section J0.60)."     .

                               (d)      Section 10.6(h) of the Credit Agreement is hereby amended by
       deleting clause (i) thereof in its entirety and inserting the following in lieu thereof:  -

               "(i) Each Lender shall have the right at any time to sell one or more participations to any
              Person (other than Holdings or any of its Subsidiaries) in all or any part of its
              Commitments, Loans or in any other Obligation."

                              (e)     Section 10.6 of the Credit Agreement is hereby amended by deleting
       clause 0) thereof in its entirety and inserting the following in lieu thereof (Section 2.17 of the
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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 5 of 158 PageID #: 240

              Case 12-50947-CSS              Doc 13-10        Filed 11/01/12        Page 5 of 16




       Credit Agreement is hereby correspondingly amended to delete the reference to Section) 0.6(j)(iii)
       therein):

               "0) Restricted Sponsor Affiliates. The Restricted Sponsor Affiliates, from time to time,
               intend to become Lenders and, from time to time, to sell, assign or transter all or a portion
               of their Commitments, LC Deposits, Loans or other Obligations and the rights and
               obligations as Lenders related thereto under this Agreement to Eligible Assignees. Each
               Agent and Lender hereby acknowledges that a Restricted Sponsor Affiliate (i) may be a
               Lender (provided such Restricted Sponsor Affiliate otherwise satisfies the criteria of the
               definition of the term of "Eligible Assignee") and (ii) may sell, assign or transfer all or a
               portion of its Commitments, LC Deposits, Loans, other Obi igations and the rights and
               obligations as a Lender related thereto under this Agreement to Eligible Assignees."

                               (f)      Section 10.6 of the Credit Agreement is hereby amended by deleting
       clause (k) thereof in its entirety (Section 2.17 of the Credi1 Agreement is hereby correspondingly
       amended to delete the reference to Section I O.6(k)(i) therein).

               2.5     Amendments to Exhibits.

                               (a) Exhibit E to the Credit Agreement (Assignment and Assumption
       Agreement) is hereby amended by deleting the heading of Section 1 in its entirety and inserting in
       lieu thereof the following:

                              "1.     Representations and Warranties; Covenants."

                            (b)    Exhibit E to the Credit Agreement (Assignment and Assumption
       Agreement) is hereby further amended by deleting Section 1.1 of the Standard Terms and
       Conditions for Assignment and Assumption Agreement in its entirety and inserting in lieu thereof
       the following:

                               "1.1    Assignor. The Assignor (a) represents and warrants that (i) it is the
               legal and beneficial owner of the Assigned Interest, (ii) the Assigned Interest is free and
               clear of any lien, encumbrance or other adverse claim, and (iii) it has full power and
               authority, and has taken all action necessary, to execute and deliver this Assignment and to
               consummate the transactions contemplated hereby; (b) assumes no responsibility with
               respect to (i) any statements, warranties or representations made in or in connection with
               any Credit Document, (li) the execution, legality, validity, enforceability, genuineness,
               sufficiency or value of the Credit Agreement or any other instrument or document
               delivered pursuant thereto, other than this Assignment (herein collectively the "Credit
               Documents"), or any collateral thereunder, (iii) the financial condition of the Borrower,
               any of its Subsidiaries or Affiliates or any other Person obligated in respect of any Credit
               Document or (iv) the performance or observance by the Borrower, any of its Subsidiaries
               or Affiliates or any other Person of any of their respective obligations under any Credit
               Document."

                           (c)    Exhibi1 E to the Credit Agreement (Assignment and Assumption
       Agreement) is hereby further amended by deleting Section 1.2 of the Standard Terms and
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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 6 of 158 PageID #: 241


              Case 12-50947-CSS             Doc 13-10        Filed 11/01/12        Page 6 of 16




       Conditions for Assignment and Assumption Agreement in its entirety and inserting in lieu thereof
       the following:

                               "1.2 Assignee. The Assignee (a) represents and warrants that (i) it has
               full power and authority, and has taken all action necessary, to execute and deliver this
               Assignment and to consummate the transactions contemplated hereby and to become a
               Lender under the Credit Agreement, (ij) it meets all requirements of an Eligible Assignee
               under the Credit Agreement, (iii) from and after the Effective Date, it shall be bound by the
               provisions ofthe Credit Agreement and, to the extent of the Assigned Interest, shall have
               the obligations of a Lender thereunder, (iv) it has received a copy of the Credit Agreement
               and such other documents and information as it has deemed appropriate to make its own
               credit analysis and decision to enter into this Assignment and to purchase the Assigned
               Interest on the basis of which it has made such analysis and decision, and (v) if it is a
               Non-US Lender, attached to the Assignment is any documentation required to be delivered
               by it pursuant to the terms of the Credit Agreement, duly completed and executed by the
               Assignee; and (b) agrees that (i) it will, independently and without reliance on the
               Administrative Agent, the Assignor or any other Lender, and based on such documents and
               information as it shall deem appropriate at that time, continue to make its own credit
               decisions in taking or not taking action under the Credit Documents, and (ii) it will perform
               in accordance with their terms all of the obligations which by the terms of the Credit
               Documents are required to be performed by it as a Lender."

       SECTION 3. CONDITIONS PRECEDENT TO EFFECTIVENESS

               The effectiveness of the amendments set forth in this Amendment are subject to the
       satisfaction, or waiver, of the following conditions on or before the date hereof (the "Amendment
       Effective Date"):

                               (a)   The Borrowers, the other Credit Parties and Requisite Lenders shall
       have indicated their consent by the execution and delivery of the signature pages hereof to
       ComVest via email, telex, telefacsimile, United States mail (certified, return receipt) or courier
       service at the address and email set forth below:

                                    ComVest Investment Partners III, L.P.
                                           c/o The Com Vest Group
                                               City Place Tower
                                       525 Okeechobee Blvd., Suite 1050
                                          West Palm Beach, FI 3340 I
                                     Attention: Mark Hughes, Jose Gordo
                                Email: markh@comw.com.joseg@comvest.com
                                             Fax: (561) 727-2100
                                            Phone: (561) 727-2000

                              (b)     The Requisite Lenders shall have received a certificate from an
       officer of Holdings stating that as of the Amendment Effective Date and after giving effect to this
       Amendment (i) the representations and warranties (other than the representations and warranties
       contained in Sections 4.9, 4.15 and 4.22 of the Credit Agreement) contained in Section 4 herein
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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 7 of 158 PageID #: 242

               Case 12-50947-CSS             Doc 13-10         Filed 11/01/12        Page 7 of 16




       and in the other Credit Documents are true, correct and complete in all material respects on and as
       of the Amendment Effective Date to the same extent as though made on and as of that date, except
       to the extent such repicsentations and wariantics spccificaHy icJatc to an carlici datc~ in which case
       such representations and warranties are true, correct and complete in all material respects on and as
       of such earlier date and (ii) other than those certain specified Events of Default listed on Schedule
       A hereto (the "Specified Events of Default"). no event has occurred and is continuing or will
       result from the consummation of the transactions contemplated by this Amendment that would
       constitute an Event of Default or a Default.

                               (c)    The Requisite Lenders shall have received an executed copy of the
       favorable written opinion of Troutman Sanders LLP, counsel for the credit parties, in form and
       substance reasonably satisfactory to the Requisite Lenders, addressing among other things the due
       authorization, execution and delivery of this Amendment, the enforceability of the Loan
       Documents, as amended by this Amendment, and the continuing validity of the security interests
       in the Collateral created pursuant to the Loan Documents and the perfection thereof.

                               (d)    The Requisite Lenders shall have received (i) certified copies of the
       resolutions of the Board of Directors of each Borrower and each other Credit Party approving this
       Amendment and the matters contemplated hereby, (ii) a certificate of a duly authorized officer of
       each Borrower and each other Credit Party certitying the names and true signatures ofthe officers
       of the Borrower and such other Credit Party authorized to sign this Amendment, (iii) certified
       copies of the organizational documents of each Borrower and each other Credit Party, (iv) a
       certificate of good standing or existence of each Borrower and each other Credit Party issued as of
       a recent date by the secretary of state or similar officer of the jurisdiction of organization of each
       such entity and (v) evidence satisfactory to them of the concurrent closing of the transactions
       contemplated by the Loan Purchase Agreement dated as of the date hereof relating to certain Loans
       and other Credit Extensions; and

                              (e)    The Requisite Lenders, shall have been reimbursed by the
       Borrowers for all costs and expenses. including attorneys' fees (including the fees, charges and
       disbursements of WilIkie Farr & Gallagher LLP, outside counsel for the Lenders signatory hereto)
       incurred by the undersigned in connection with the Credit Documents and this Amendment and all
       other transactions (contemplated, completed or otherwise) related to any thereof, whether or not
       consummated.

       SECTION 4. REPRESENTATIONS AND WARRANTIES

              4.1      Corporate Power and Authority. Each Credit Party has all requisite corporate,
       limited liability company or partnership (as applicable) power and authority to enter into this
       Amendment and to carry out the transactions contemplated by, and perform its obligations under,
       the Credit Agreement, as amended by this Amendment (the "Amended Credit Agreement").

              4.2      Authorization of Amendments. The execution and delivery of this Amendment
       have been duly authorized by all necessary corporate, limited liability company or partnership (as
       applicable) action on the part of each Credit Party.



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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 8 of 158 PageID #: 243

             Case 12-50947-CSS               Doc 13-10         Filed 11/01/12         Page 8 of 16




               4.3       No Conflict. The execution and delivery by each Credit Party of this Amendment
       and the performance by each Credit Party of the Amended Credit Agreement do not and will not (a)
       violate (i) any prbvision of any law or any governmental rule or regulation applicable to any Credit
       Party, (i i) the certi ficate or articles of incorporation or bylaws (or other organizationa I documents)
       of any Credit Party or (iii) any order, judgment or decree of any court or other agency of
       government binding on any Credit Party; (b) conflict with, result in a breach of or constitute (with
       due notice or lapse oftime or both) a default under any Contractual Obligation of any Credit Party,
       (c) result in or require the creation or imposition of any Lien upon any of the properties or assets of
       a Credit Party other than those in favor of the Collateral Agent, on behalf of itself and the Secured
       Parties, pursuant to the Credit Documents or those in favor of the Second Lien Collateral Agent on
       a second priority basis pursuant to the Second Lien Credit Documents, or (d) require any approval
       of stockholders or any approval or consent of any Person under any Contractual Obligation of any
       Credit Party other than (i) approvals and consents that have been made or obtained and (ii)
       approvals and consents the failure of which to obtain could not reasonably be expected to have a
       Material Adverse Effect.

               4.4     Governmental Consents. No action, consent or approval of, registration, notice or
       filing with or any other action by any Governmental Authority is required in connection with the
       execution and delivery by each Credit Party of this Amendment or the performance by the Credit
       Parties of the' Amended Credit Agreement except to the extent that the failure to undertake or
       obtain such action, consent, approval, registration or notice could not reasonably be expected to
       have a Material Adverse Effect.

              4.5      Binding Obligation. This Amendment has been duly executed and delivered by
       each Credit Party and this Amendment and the Amended Credit Agreement constitute the legal,
       valid and binding obligation of each Credit Party enforceable against each Credit Party in
       accordance with its terms, except as enforceability may be limited by bankruptcy, insolvency,
       moratorium, reorganization or other similar laws affecting creditors' rights generally and except as
       enforceability may be limited by general principles of equity (regardless of whether such
       enforceability is considered in a proceeding in equity or at law).

                4.6     Incorporation of Representations and Warranties From Credit Documents. The
       representations and warranties (other than the representations and warranties contained in Sections
       4.9,4. I 5 and 4.22 of the Credit Agreement) contained in the Credit Documents are and will be true,
       correct and complete in all material respects on and as of the Amendment Effective Date to the
       same extent as though made on and as of that date, except to the extent such representations and
       warranties specifically relate to an earlier date, in which case they were true, correct and complete
       in all material respects on and as of such earlier date.

               4.7    Absence of Default. After giving effect to the amendment set forth herein, other
       than the Specified Events of Default, no event has occurred and is continuing or will result from
       the consummation of the transactions contemplated by this Amendment that would constitute an
       Event of Default or a Default.




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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 9 of 158 PageID #: 244

              Case 12-50947-CSS             Doc 13-10        Filed11/01/12         Page 9 of 16




       SECTION 5. ACKNOWLEDGEMENT AND CONSENT; RELEASE

              Each Guarantor hCiCby consents to the tCims of this Amendment and further hereby
       confinns and agrees that, notwithstanding the effectiveness of this Amendment, the obligations of
       such Guarantor under each of the Credit Documents to which such Guarantor is a party shall not be
       impaired and each of the Credit Documents to which such Guarantor is a party are, and shall
       continue to be, in full force and effect and are hereby confirmed and ratified in all respects.

               Each Guarantor hereby acknowledges and agrees that (i) notwithstanding the conditions to
       effectiveness set forth in this Amendment, such Guarantor is not required by the terms of the
       Credit Agreement or any other Credit Document to consent to the amendment to the Credit
       Agreement elTected pursuant to this Amendment and (ii) nothing in the Credit Agreement, this
       Amendment or any other Credit Document shall be deemed to require the consent of such
       Guarantor to any future amendments to the Credit Agreement.

              The Credit Parties hereby acknowledge and agree that, for the avoidance of doubt and
       notwithstanding any other provision of this Amendment to the contrary, the obligations of the
       Credit Parties under Section 10.3 of the Credit Agreement as to any Indemnitee shall continue with
       respect to such Indemnitee notwithstanding any transfer by any Lender of its Loans or
       Commitments under the Credit Agreement.

              The Requisite Lenders hereby acknowledge and agree that, upon Com Vest Investment
       Partners III, L.P.'s ("Com Vest") receipt of$1,850,000 pursuant to Section l.5(a)(ii) of that certain
       Loan Purchase Agreement, dated as of August 21, 2009 (the "Loan Purcbase Agreement"),
       among Yucaipa American Alliance Fund I, LP, Yucaipa American Alliance (Parallel) Fund I, LP
       and ComVest, (i) all conditions under Section 3(e) hereof shall be fully satisfied and (ii) the
       Borrowers shall have no further reimbursement obligations to the Requisite Lenders.

               As a material inducement to the willingness of Com Vest to enter into this Amendment, and
       to consummate the transactions contemplated hereby, and subject to the terms of the last sentence
       of this paragraph, ComVest, on the one hand, and each of the Credit Parties, on the other hand, in
       each case, for itself and its respective successors, assigns and Affiliates (individually, a
       "Releasor" and collectively, the "Releasors"), (a) in the case of CornYest, the Credit Parties, and
       (b) in the case of the Credit Parties, ComYest, and, in each case, the Affiliates, stockholders,
       partners, controlling persons, Subsidiaries, agents, sub-agents, advisors, employees, directors,
       officers, successors and assigns of the Credit Parties or Com Vest, as applicable, and their
       respective Affiliates (individually, a "Releasee" and collectively, "Releasees") hereby forever
       releases from any and all claims, demands, proceedings, causes of action, orders, obligations,
       Contractual Obligations, debts and liabilities whatsoever (collectively, "Claims"), whether known
       or unknown, suspected or unsuspected, both at law and in equity, which each Releasor now has,
       has ever had or may hereafter have against the respective Releasees, in each case, arising on or
       prior to the Amendment Effective Date, or on account of or arising out of any matter, cause or
       event occurring on or prior to the Amendment Effective Date (including, without limitation,
       arising out of or in connection with the Loan Purchase Agreement, the execution, delivery and
       performance of Loan Purchase Agreement by any Releasee and the consummation of the
       transactions contemplated thereby), whether or not relating to Claims pending on, or asserted after,
       the Amendment Effective Date, and which relate to the Borrowers or any Subsidiary thereof
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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 10 of 158 PageID #: 245

              Case 12-50947-CSS            Doc 13-10        Filed 11/01/12        Page 10 of 16




       and/or relate to or arise out of the Credit Documents, the Second Lien Credit Documents, the Loan
       Purchase Agreement or the respective transactions contemplated thereby, including any Claims on
       account of or arising out of any meeting between or among the parties hereto or any
       representatives thereof that occurred on or prior to the Amendment Effective Date; provided,
       however, that nothing contained in this Section 5 shall operate (i) to release ComVest in its
       capacity as a Lender under the Credit Documents from any contractual obligation it may have
       thereunder that is required to be performed after (but not before) the Amendment Effectiveness
       Date; provided, further, that notwithstanding the provisions of this clause (i) to the contrary,
       effective upon the registration or deemed registration of the assignment by Com Vest of its Loans
       and Commitments to the Yucaipa Funds (as defined below) pursuant to the Loan Purchase
       Agreement in accordance with Section 1O.6(b) of the Credit Agreement, as amended by this
       Amendment, Com Vest will be released from all contractual obligations pursuant to Section 1O.6(f)
       of the Credit Agreement (and, for the avoidance of doubt, all other Claims) under the Credit
       documents, or (ii) to release any Claims against any Credit Party or any Subsidiary thereof or any
       related Releasee thereof under the Credit Documents or the Second Lien Credit Documents. In
       furtherance of the foregoing, each Releasor hereby irrevocably covenants and agrees to refrain
       from, directly or indirectly, asserting any claim or demand, or commencing, instituting or causing
       to be commenced, any proceeding of any kind against any Releasee, based upon any matter
       purported to be released hereby. Notwithstanding the provisions of clause (ii) of the proviso to the
       immediately preceding sentence to the contrary, the parties hereto acknowledge and agree that in
       accordance with the provisions of the Credit Documents, Com Vest may assign all Claims referred
       to in clause (ii) above under the Credit Documents, and that upon any such assignment, such
       Claims under the Credit Documents shall be transferred to the applicable transferee.
       Notwithstanding anything in this paragraph to the contrary, neither Yucaipa American Alliance
       Fund J, LP nor Yucaipa American Alliance (Parallel) Fund I, LP (collectively, the "Yucaipa
       Funds"), nor any of the Affiliates, stockholders, partners, controlling persons, Subsidiaries,
       agents, sub-agents, advisors, employees, directors, officers, successors and assigns of such
       Yucaipa Funds (other than the Credit Parties and their Subsidiaries and their stockholders,
       partners, controlling persons, Subsidiaries, agents, sub-agents, advisors, employees, directors,
       officers, successors and assigns) shall constitute Releasees or Releasors hereunder.

       SECTION 6. MISCELLANEOUS

               6.1    Binding Effect. This Amendment shall be binding upon the parties hereto and their
       respective successors and assigns and shall inure to the benefit of the parties hereto and the
       successors and assi·gns of Lenders.

               6.2     Severability. In case any provision in or obligation hereunder shall be invalid,
       illegal or unenforceable in any jurisdiction, the validity, legality and enforceability of the
       remaining provisions or obligations, or of such provision or obligation in any other jurisdiction,
       shall not in any way be affected or impaired thereby.

               6.3    Effect on Credit Agreement. Except as expressly set forth herein, Lender agrees to
       no amendment with respect to the Credit Agreement or any other Credit Document, and the Credit
       Agreement and the other Credit Documents remain in full force in accordance with their respective
       terms; provided, however, in case of any inconsistencies between this Amendment and the Credit
       Agreement, this Amendment shall prevail. The agreement by the Requisite Lenders agreeing to
                                                       9
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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 11 of 158 PageID #: 246

              Case 12-50947-CSS             Doc 13-10       Filed 11/01/12         Page 11 of 16




       the amendment contained herein does not and shall not create (nor shall any Credit Pany rely upon
       the existence of or claim or assen that there exists) any obligation of Administrative Agent or any
       Lender to consider or to agree to any further amendment to any Credit Document. In the event that
       Administrative Agent or Lenders subsequently agree to consider any further amendment to any
       Credit Document, neither the amendment contained herein nor any other conduct of
       Administrative Agent or Lenders shall be of any force or effect on Administrative Agent's or
       Lenders' consideration or decision with respect to any such amendment, and the Administrative
       Agent and Lenders shall have no further obligation whatsoever to consider or to agree to any such
       amendment. Administrative Agent, on behalf of the Lenders, expressly reserves the right to
       require strict compliance with the tenns of the Credit Agreement and the other Credit Documents
       in all respects. The amendment agreed to herein shall not constitute a course of dealing at variance
       with the Credit Agreement so as to require further notice by Administrative Agent or Lenders to
       require strict compliance with the terms of the Credit Agreement and the other Credit Documents
       in the future. The parties hereto acknowledge and agree that this Amendment shall be deemed to
       be a Credit Document. On and after the Amendment Effective Date, each reference in the Credit
       Agreement to "this Agreement", "hereunder", "hereof', "herein" or words oflike import referring
       to the Credit Agreement, and each reference in the other Credit Documents to the "Credit
       Agreement", "thereunder", "thereof', "therein" or words of like import referring to the Credit
       Agreement shall mean and be a reference to the Amended Credit Agreement.

              6.4     Headings. Section headings herein are included herein for convenience of
       reference only and shall not constitute a part hereof for any other purpose or be given any
       substantive effect.

            6.5  APPLICABLE LAW. THIS AMENDMENT AND THE RIGHTS AND
       OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE GOVERNED BY, AND
       SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF
       THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS
       PRINCIPLES THEREOF (OTHER THAN SECTION 5-1401 AND 5-1402 OF THE NEW
       YORK GENERAL OBLIGATIONS LAW).

               6.6     Counterparts. This Amendment may be executed in any number of counterparts,
       each of which when so executed and delivered shall be deemed an original, but all such
       counterparts together shall constitute but one and the same instrument. As set forth herein, this
       Amendment shall become effective upon the execution of a counterpart hereof by each of the
       parties hereto and receipt by ComVest of written or telephonic notification of such execution and
       authorization of delivery thereof.



                            [The remainder of this page is intentionally left blank.]




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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 12 of 158 PageID #: 247


            Case 12-50947-CSS             Doc 13-10        Filed 11/01/12       Page 12 of 16




               IN WITNESS WHEREOF, the parties h~reto have caused this Amendment to be duly
       executed and delivered by their respective officers thereunto duly authorized as of the date first
       written above.


       BORROWERS:                                   ALLIED SYSTEMS HOLDINGS, INC.




                                                    BT-£~~ Senior Vice President, Chief Financial
                                                           Officer and Treasurer


                                                    ALLIED SYSTEMS, LTD. (L.P.)

                                                    By:    Allied Automotive Group, Inc.,
                                                           its Managin~ General Partner



                                                   By:
                                                           Scott D. Macaulay
                                                           Vice PresidentITreasurer




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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 13 of 158 PageID #: 248

            Case 12-50947-CSS   Doc 13-10     Filed 11/01/12       Page 13 of 16




                                     ACKNOWLEDGED AND AGREED:

                                     ALLIED AUTOMOTIVE GROlJP, INC.
                                     ALLIED FREIGHT BROKER LLC
                                     ALLIEDSYSTE~(CANADA)COMPANY
                                     AXIS CANADA COMPANY
                                     AXIS GROUP, INC.
                                     COMMERCIAL CARRIERS, INC.
                                     CORDIN TRANSPORT LLC
                                     C T SERVICES, INC.
                                     F.J. BOUTELL DRIVEA WAY LLC
                                     GACS INCORPORATED
                                     QAT,INC.
                                     RMXLLC
                                     TERNUNALSERVICESLLC
                                     TRANSPORT SUPPORT LLC


                                     By,      ~~. 7
                                              Scott D. Macaulay
                                              Vice President/Treasurer



                                     AXIS ARETA, LLC
                                     LOGISTIC SYSTEMS, LLC
                                     LOGISTIC TECHNOLOGY, LLC

                                    . By:     AX          International      Limited,
                                              its Sole Member and Manager



                                     By:
                                              Scott D. Macaulay          /
                                              Vice PresidentJTreasurer




                                        12.
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 14 of 158 PageID #: 249


           Case 12-50947-CSS   Doc 13-10      Filed 11/01/12      Page 14 of 16




                                     FOURTH AMENDMENT TO THE CREDIT
                                     AGREEMENT



                                     To approve the Fourth Amendment:

                                     Com Vest Investment Partners III. L.P.



                                     By,
                                     Name:
                                                &uJb~
                                                cecmo M
                                     Title:               CFO




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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 15 of 158 PageID #: 250

               Case 12-50947-CSS           Doc 13-10        Filed 11/01/12       Page 15 of 16




                                                  Schedule A

                                         Specified Event!; of DcfauJt


       J.      The Borr()wers delivered to the Administrative Agent certain financial statements and
       other materials described in and required by Sections 5. ](b) and @ of the Credit Agreement
       (collectively "Financial Reports") for and in respect of (i) the Fiscal Month and the Fiscal
       Quarter ended as of June 30, 2008, (ii) the Fiscal Month and the Fiscal Quarter ended as of
       September 30. 2008 and (iii) the Fiscal Month and the Fiscal Quarter ended as of March 31. 2009
       (collectively the "Financial Statements"). The Financial Statements. including without
       limitation the Compliance Certificates for and with respect to the other Financial Statements,
       disclose. or would disclose, that the Borrowers breached Sections 6.7(a) and 6.7(b) of the Credit
       Agreement by fai ling to comply, for the Fiscal Quarters of June 30, 2008, September 30, 2008 and
       March 31, 2009, with the financial covenants set forth in such sections, which failures to comply
       constitute Events of Default under Section 8,1(c) of the Credit Agreement.

       2.     The Borrowers have failed to timely comply with their obligation to deliver certain
       monthly reports and other materials described in and required by Section 5.1 (a) of the Credit
       Agreement for the Fiscal Month cnded as of April 30, 2009, which failures to comply constitute
       Events of Default under Section 8.1 (c) of the Credit Agreement.

       3.      The Borrowers have failed to timely comply with their obligation to deliver a certified
       written report identifying the amount of Term Loans and Second Lien Term Loans purchased by
       the Restricted Sponsor Affiliates in the months of June and July the total aggregate amount of
       Term Loans and Second Lien Term Loans held by the Restricted Sponsor Affiliates as of the end
       of such months as required by Section 5.l(a) of the Credit Agreement, which failure to comply as
       of August 30, 2008 has resulted in an Event of Default under Section 8.1 (c) of the Credit
       Agreement.

       4.      The Borrowers have failed to timely comply with their obligation to deliver certain annual
       financial statements, a Compliance Certificate and other materials described in and required by
       Sections 5.l(c) and @ of the Credit Agreement for the Fiscal Year ended December 31, 2008,
       which failure to comply as of April 15, 2009 has resulted in an Event of Default under Section
       Uf£.l of the Credit Agreement. Such annual financial statements would disclose that the
       Borrowers breached Sections 6.7(a) and 6.7(b) of the Credit Agreement by failing to comply. for
       the Fiscal Quarters ending December 31,2008 and March 31,2009, with the financial covenants
       set forth in such sections, which failures to comply constitute Events of Default under Section
       ~ of the Credit Agreement.


       5.     The Borrowers have failed to timely comply with their obligation to deliver a consolidated
       plan and financial forecast for the Fiscal Year ended December 31,2009, including (i) a forecasted
       consolidated balance sheet and forecasted consolidated statements of income and cash flows of
       Holdings and its Subsidiaries for such Fiscal Year and an explanation of the assumptions on which
       such forecasts are hased. and (ii) forecasted consolidated statements of income and cash flows of
       Holdings and its Subsidiaries for each month in such Fiscal Year as required by Section 5.W) of

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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 16 of 158 PageID #: 251

              Case 12-50947-CSS            Doc 13-10        Filed 11/01/12       Page 16 of 16




       the Credit Agreement, which failure to comply as of February 28, 2009 has resulted in an Event of
       Default under Section 8.1 (e) of the Credit Agreement.

       6.      The Borrowers have been maintaining excess cash balances in bank accounts that are not
       subject to any account control agreement which constitute an Event of Default under the Section
       ~ of Credit Agreement.

       7.      The Borrowers have failed to timely comply with their obligation to pay promptly the
       attorneys' fees of Ropes & Gray LLP incurred by the Agents and Lenders in enforcing any
       Obligations of or in collecting any payments due from any Credit Party under the Credit
       Agreement or under the other Credit Documents by reason of such Default or Event of Default or
       in connection with any refinancing or restructuring of the credit arrangements provided under the
       Credit Agreement in the nature of a "work-out" or pursuant to any insolvency or bankruptcy cases
       or proceedings as required by Section IO.2(h) of the Credit Agreement, which failure to comply
       has resulted in an Event of Default under Section 8.l(a) of the Credit Agreement.

       8.      The Borrowers have failed to timely comply with their obligation to reimburse the LC
       Disbursement as required by Section 2.4(d) of the Credit Agreement, which failure to comply has
       resulted in an Event of Default under Section 8.Ha) ofthe Credit Agreement.

       9.     The Borrowers have failed to maintain Interest Rate Agreements at the level required by
       Section 5.12 of the Credit Agreement, which failure has resulted in an Event of Default under
       Section 8.l(e) of the Credit Agreement.

       10.     The Borrowers and the Guarantors have failed to make the payment of interest due to the
       Lenders on August 3, 2009, which failure has resulted in an Event of Default under Section
       8.l(a)(iii) of the Credit Agreement.

        II. The Borrowers have failed to comply, for the Fiscal Quarter ending June 30, 2009, with the
       financial covenants set forth in Sections 6.7(a) and 6.7(b) of the Credit Agreement, which failures
       to comply constitute Events of Default under Section 8.lfc) of the Credit Agreement.

       12.     The Borrowers have failed to timely give notice to the Administrative Agent of the
       foregoing Defaults or Events of Default as required by Section 5. I(f) of the Credit Agreement,
       wh ich failure has resulted in an Event of Default under Section 8.1 (a) of the Credit Agreement.




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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 17 of 158 PageID #: 252




                      EXHIBIT 3
FILED: NEW YORK COUNTY CLERK 09/26/2012                                       INDEX NO. 650150/2012
         Case
NYSCEF DOC. NO.1:15-cv-00373-SLR
                 66              Document 1-2 Filed 05/08/15 Page 18 ofRECEIVED
                                                                        158 PageID #: 25309/26/2012
                                                                                NYSCEF:
                                                                          Motion Sequence No. 3
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 19 of 158 PageID #: 254
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 20 of 158 PageID #: 255
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 21 of 158 PageID #: 256




                      EXHIBIT 4
          Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 22 of 158 PageID #: 257




   From:                         Theo Ciupitu [tciupitu@jackcooper.com]
   Sent:                         Thursday, March 08, 2012 4:38 AM
   To:                           DerexWalker Blackberry; Ira Tochner
   Cc:                           Michael Riggs
   Subject:                      Yucaipa - Allied Final Term Sheet
   Attachments:                  #2507147v4 LA - Yucaipa-JC Term Sheet (Final draft 3 8 12).DOC;
                                 WS_BinaryComparison_#2507147v3 LA - Yucaipa-JC Term Sheet (JC draft 3_8_12)-#
                                 2507147v4 LA - Yucaipa-JC Term Sheet (Final draft 3 8 ~l.doc

   Importance:                   High


   Thank you, Derex. This Term Sheet is final. Regards,


   Theo A. Ciupitu
   Executive Vice President and General Counsel
   Jack Cooper Holdinss Corp.
   Jack Cooper Transport Company, Inc.
   tciupitu@jackcooper.com
   404-350-7934 (office)
   404-308-7803 (cell)


   IRS CIRCULAR 230 NOTICE: To ensure compliance with requirements imposed by the IRS, we inform you that any
   U.S. tax advice contained in this communication (or in any attachment) is not intended or written to be used, and
   cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting,
   marketing, or recommending to another party any transaction or matter addressed in this communication (or in
   any attachment).


   CONFIDENTIALITY NOTICE: This electronic mail transmission has been sent by a lawyer. It may contain information
   that is confidential, privileged, proprietary, or otherwise legally exempt from disclosure. If you are not the intended
   recipient, you are hereby notified that you are not authorized to read, print, retain, copy, or disseminate this
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   and any attachments from your system without reading the content and notify the sender immediately of the
   inadvertent transmission. There is no intent on the part of the sender to waive any privilege, including the
   attorney-client privilege, that may attach to this communication. Thank you for your cooperation.


   From: "derex@att.blackberry.net" <derex@att.blackberry.net>
   Reply-To: "derex@att.blackberry.net" <derex(~att.blackberry.net>
   Date: Thu, 8 Mar 2012 01:58:25 -0600
   To: Theo <tciupitu@jackcooper.com>
   Subject: Fw: ¥ucaipa - Allied Final Term Sheet

   Please see below for final versions reflecting the two additional changes. Thanks, Derex
   Sent via BlackBerry by AT&T


   From: <Sean.Denvir(~lw.com>
   Date: Wed, 7 Mar 2012 23:51:08 -0800
   To: <derex@att.blackberrv.net>
   C:c: <ira.tochner@yucaipaco.com>; <John.Blount(~A!!iedHoldingjs.com>; <stephanie.bond@yucaipaco.com>;
   <Robert.OShea@lw.com>; <ROBERT.KLYMAN@Iw.com>; <Sean.Denvir@lw.com>
   Subject: RE: Yucaipa - Allied Final Term Sheet




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            Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 23 of 158 PageID #: 258

   Derex,

   Attached please find the revised term sheet, clean and redlined against Jack Cooper’s proposed changes, incorporating
   those changes described in your email to Theo below. Please let me know if you need anything further.

   Best,
   Sean



   From: derex@att.blackberry.net [mailto:derex@att.blackberry.net]
   Sent: Wednesday, March 07, 2012 11:44 PM
   To: Theo Ciupitu
   Cc: Ira Tochner; John Blount; Stephanie Bond; O’Shea, Robert (LA); Denvir, Sean (LA); Klyman, Robert (LA)
   Subject: Re: Yucaipa - Allied Final Term Sheet

   Great. Thanks!
   Sent via BlackBerry by AT&T


   From: Theo Ciupitu <tciupitu@jackcooper.com>
   Date: Thu, 8 Mar 2012 01:41:07 -0600
   To: ’derex@att.blackberry.net’<derex@att.blackberry.net>
   C:c: ’ira.tochner@yucaipaco.com’<ira.tochner@yucaipaco.com>;
   ’John.Blount @Allied Holdings.com’<John.Blount @Allied Holdings.com>;
   ’stephanie.bond @yuca!paco.com’<stephanie.bond @yucaipaco.com>; ’Robert.OShea@lw.com’<Robert.OShea@lw.com>;
   ’Sean.Denvir@lw.com’<Sean.Denvir@lw.com>; ’robert.klyman @lw.com’<robert.klyman @lw.com>
   Subject: Re: Yucaipa - Allied Final Term Sheet


   Those changes are fine. We will be ready tomorrow at 9 am ET. Good night.




   From: derex@att, blackberry, net < derex@att, blackberry, net>
   To: Theo Ciupitu
   (:c: Ira Tochner <ira.tochner@yucaipaco.com>; John Blount <John.Blount@AlliedHoldincls.com>; Stephanie Bond
   <stej~hanie.bond@yucaij~aco.com>; Rob O’Shea < Robert.OShea@lw.com>; Sean.Denvir@lw.com
   <Sean.Denvir@lw.com>; Robert A. Klyman <robert.klyman@lw.com>
   Sent: Thu Mar 08 01:38:02 2012
   Subject: Re: Yucaipa - Allied Final Term Sheet

   Thanks, Theo. I think we’re done if we make the following two changes to the mark-up you circulated:


   1. On page 4 of the mark-up, change "promptly" to "prompt" in item 2


   2. On page 8 of the mark-up under HSR Clearance, change "responding to all governmental requests" to "responding to all
   governmental requests relating solely to information’


   Please confirm that this is acceptable, and we’ll finalize the term sheet and be ready to meet at 9am ET. Thanks.


   Sent via BlackBerry by AT&T


   From: Theo Ciupitu <tciupitu@jackcooper.com>
   Date: Thu, 8 Mar 2012 00:52:38 -0600
   To: derex@att.blackberry.net<derex@att.blackberry.net>
   C:c: Ira Tochner<ira.tochner@yucaipaco.com>; John Blount<John.Blount@AlliedHoldings.com>; Stephanie
   Bond<stephanie.bond @yucaipaco.com>
   Subject: Yucaipa - Allied Final Term Sheet




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            Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 24 of 158 PageID #: 259


   Derex,

              Your changes look good. I made a few minor tweaks and have attached a revised draft in TrackChanges form. Please
   confirm the attached Term Sheet is in final form and that we may proceed with our due diligence meeting tomorrow morning
   at 9 am ET.


   Regards,


   Theo A. Ciupitu
   Executive Vice President and General Counsel
   Jack Cooper Holdings Corp.
   Jack Cooper Transport Company, Inc.
   tciupitu@iackcooper.com
   404-350-7934 (office)
   404-308-7803 (ceil)


   IRS CIRCULAR 230 NOTICE: To ensure compliance with requirements imposed by the IRS, we inform you that any
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   message, any part of it, or any attachments. If you have received this message in error, please delete this message
   and any attachments from your system without reading the content and notify the sender immediately of the
   inadvertent transmission. There is no intent on the part of the sender to waive any privilege, including the
   attorney-client privilege, that may attach to thiscommunication. Thank you for your cooperation.


   From: "derex@att.blackberry.net" <derex@att.blackberry.net>
   Reply-To: "derex@att.blackberry.net" <derex@att.blackberry.net>
   Date: Thu, 8 Mar 2012 00:05:23 -0600
   To: Theo <tciupitu@jackcooper, com>
   Co: Ira Tochner <ira.tochner@yucaipaco.com>, John Blount <John.Blount@AlliedHoldin~s,com>, Stephanie Bond
   <stephanie.bond@yucaipaco.com>
   Subject: Fw: Yucaipa - Allied Term Sheet

   Theo, attached is the mark-up we discussed. Please let me know if this is acceptable, l’m reachable on my cell if you would like
   to discuss. Thanks, Derex. 310-990-5378
   Sent via BlackBerry by AT&T


   From: <Sean.Denvir@lw.com>
   Date: Wed, 7 Mar 2012 21:54:31-0800
   To: <derex@att.blackberr¥.net>
   C:c: <Robert.OShea@lw.com>; <GLEN.COLLYER@Iw.com>; <ROBERT.KLYMAN@Iw.com>; <Sean.Denvir@lw.com>;
   <stephanie.bond@yucaipaco.com>
   Subject: Yucaipa - Allied Term Sheet



   Derex,




Confidential                                                                                                    YUCAIPA831194
           Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 25 of 158 PageID #: 260
   Attached please find a revised draft of the Allied Term Sheet, clean and redlined against Jack Cooper’s last draft. Please
   let me know if you need anything further.

   Best,

   Sean

   <<#2507147v2 LA - Yucaipa-JC Term Sheet (Yucaipa draft 3 7 12).DOC>>
   <<WS_BinaryComparison_#2507147v1 LA -Yucaipa-JC Term Sheet (JC draft 3 7 12)-#2507147v2 LA -Yucaipa-JC
   Term Sheet (Yucaipa draft 3 7 12).doc>>

   Sean C. Denvir

   LATHAM ~ WATKINS "P
   355 South Grand Avenue
   Los Angeles, CA 90071-1560
   Direct Dial: +1.213.891.8504
   Fax: +1.213.891.8763
   Email: sean.denvir~lw.com
   http://www.lw.com




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 26 of 158 PageID #: 261

                                                                     CONFIDENTIAL TERM SHEET-
                                                                     FINAL VERSION 03/08/2012




                                       For Discussion Purposes Only

           TERM SHEET FOR ACQUIRING FIRST AND SECOND LIEN SECURED DEBT
             CLAIMS WITH RESPECT TO ALLIED SYSTEMS HOLDINGS, INC. AND
          CONSUMMATING 363 SALE UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

         This term sheet (this "Term Sheet") outlines the parties nonbinding present intentions with
         respect to certain material terms of the following proposed transactions (the "Proposed
         Transactions"): (a) the purchase by Jack Cooper Transport Company, Inc. ("Jack Cooper")
         either directly or through one or more designated affiliates to be determined ("JCT Affiliate") of
         certain first and second lien secured debt claims (the "Purchased Debt") against Allied Systems
         Holdings, Inc. and its subsidiaries and other affiliates (collectively, "Allied") (the "Debt
         Purchase Transaction"); and (b) the purchase of substantially all of the assets and the
         assumption of designated liabilities of Allied through a sale under Section 363 of Title 11 of the
         United States Code (the "Bankruptcy Code") pursuant to a credit bid of the first and/or second
         lien secured debt claims against Allied (the "363 Sale"). The terms and conditions summarized
         herein are provided for discussion purposes only, and are not enforceable or binding on any
         parties hereto, and do not contain all of the contemplated terms and conditions of the Proposed
         Transactions. In addition, the Term Sheet constitutes confidential settlement negotiations under
         Federal Rule of Evidence 408 (and comparable state law) and cannot be used in any proceeding
         for any purpose. The consummation of the Proposed Transactions shall be subject to, among
         other things, the negotiation, execution, and delivery of definitive agreements that are mutually
         acceptable to Jack Cooper, Yucaipa (as hereinafter defined), and Allied as described herein (the
         "Definitive A~reements") and the satisfaction of customary and specific conditions precedent.



                                   Debt Purchase Transaction Specific Terms

         Seller:                          The Yucaipa Companies, LLC, Yucaipa American Alliance
                                          Fund I, LP, Yucaipa American Alliance (Parallel) Fund I, LP,
                                          and all other funds managed by or related to the foregoing
                                          entities and their general partners (collectively, "Yucaipa").

         Buyer(s):                        Jack Cooper and/or JCT Affiliate

         Purchased Debt:                  1. All claims held by Yucaipa at closing under that certain
                                          Amended and Restated First Lien Secured Super Priority
                                          Debtor-in-Possession and Exit Credit and Guaranty Agreement,
                                          dated May 15, 2007, by and among, inter alia, Allied Systems
                                          Holdings, Inc. (f/k/a Allied Holdings, Inc.) and Allied Systems,
                                          Ltd. (L.P.) (collectively, the "Allied Borrowers"), certain
                                          subsidiaries of Allied Borrowers as guarantors (the "Allied
                                          Guarantors"), the Lenders party thereto from time to time, and
                                          The CIT Group/Business Credit, Inc. ("CIT"), as administrative




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 27 of 158 PageID #: 262




                                     and collateral agent (as amended and modified, the "First Lien
                                     Credit A~reement").

                                     2. All claims held by Yucaipa at closing under that certain
                                     Second Lien Secured Super Priority Debtor-in-Possession and
                                     Exit Credit and Guaranty Agreement, dated May 15, 2007, by
                                     and among, inter alia_, the Allied Borrowers, the Allied
                                     Guarantors, and Goldman Sachs Credit Partners, L.P., as sole
                                     lead arranger, sole book runner, and sole lead administrative
                                     agent (as amended and modified, the "Second Lien Credit
                                     A~reement"; and, together with the First Lien Credit
                                     Agreement, the "Credit A~reements").

         Amount of Purchased Debt:   1. First Lien Credit Agreement term loans - approximately
                                     $114,700,000 of principal, plus all accrued and unpaid interest,
                                     fees, charges, and expenses.

                                     2. First Lien Credit Agreement synthetic letter of credit usage
                                     loans - approximately $20,100,000 of principal, plus all accrued
                                     and unpaid interest, fees, charges, and expenses.

                                     3. Second Lien Credit Agreement term loans - approximately
                                     $20,000,000 of principal, plus all accrued and unpaid interest,
                                     fees, charges, and expenses.

         Purchased Debt Purchase     1. First Lien Credit Agreement claims - $155 million as
         Price:                      hereinafter described.

                                     2. Second Lien Credit Agreement claims - $1.00.

         Form of Purchase:           Direct assignment by Yucaipa to Buyer.

         Documentation:              Mutually acceptable to Buyer and Yucaipa, but to be based on
                                     "distressed trade" form documents published by The Loan
                                     Syndications and Trading Association, as amended or modified
                                     to accommodate the Debt Purchase Transaction.

         Closin~ Dates:              "First Closin~ Date" shall mean three (3) business days
                                     following receipt of HSR Clearance (as hereinafter defined) and
                                     the satisfaction or waiver of all other Conditions Precedent to
                                     the First Closing (as set forth below).

                                     "Second Closin~ Date" shall mean fourteen (14) calendar days
                                     following the entry of an order of the Bankruptcy Court
                                     approving the 363 Sale in a form acceptable to the parties and to
                                     be attached to the Cooperation Agreements (as hereinafter




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 28 of 158 PageID #: 263




                                     defined).

         Assignment Fee under the    Would be shared equally between Buyer and Yucaipa, unless
         Credit A~reements:          waived by the Administrative Agent.

         Payment of Purchased Debt   The $155 million Purchased Debt Purchase Price would be paid
         Purchase Price:             as follows:

                                     1. On the First Closing Date, Buyer would pay Yucaipa $75
                                     million of the Purchased Debt Purchase Price in form of notes
                                     identical in all material respects (except as otherwise provided
                                     herein) to those issued under Jack Cooper’s 12 3¼% Senior
                                     Secured Notes Due 2015 (the "Jack Cooper Notes").

                                     2. On the Second Closing Date, Buyer would pay Yucaipa the
                                     remaining $81) million of the Purchase Debt Purchase Price in
                                     cash.

         Conditions Precedent to     1. Allied and/or Yucaipa to provide to Jack Cooper the
         Si~nin~ Definitive          following due diligence items prior to signing the Definitive
         A~reements for Debt         Agreements:
         Purchase Transaction:
                                        (a) Full and complete copies of all documents in Allied’s
                                            and Yucaipa’s possession relating to the Credit
                                            Agreements (collectively, the "Loan Documents"),
                                            including, without limitation, those documents set forth
                                            on Schedule 1 attached hereto.

                                        (b) Proof of the total amount of claims outstanding under
                                            the Credit Agreements.

                                        (c)   Corporate structure charts and summary of shareholders
                                              and their ownership to the extent available.

                                        (d) Summary of certain material terms (to be agreed upon)
                                            of Ford customer contract, including, without limitation,
                                            revenue provisions, bankruptcy provisions, and
                                            evidence of the contract being a "no cut" contract.

                                        (e) Access to information regarding the rigs and real estate
                                            owned by Allied to allow Jack Cooper to confirm: (i)
                                            numbers and locations of such rigs and real estate; (ii)
                                            the age and condition of such rigs and general condition
                                            of such real estate; (iii) that Allied has clear title to such
                                            rigs and real estate; and (iv) that such rigs and real estate
                                            are not encumbered by claims (such as financing liens,




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 29 of 158 PageID #: 264




                                           operating or capital lease claims, and mortgages), other
                                           than collateral interests granted pursuant to the Credit
                                           Agreements. For purposes of this Term Sheet, "access"
                                           shall be defined to include an opportunity to inspect all
                                           rigs owned or leased by Allied.

                                           Access to complete lease agreements regarding the rigs
                                           and real estate leased by Allied.

                                     (g) Information identifying Allied’s tax basis in its tangible
                                           assets.

                                     (h) Access to such financial, operational, and other
                                         information concerning Allied (including, without
                                         limitation, estimated current run-rate revenues and
                                         terminal contribution margins by terminal based on
                                         current customer contracts) as agreed to between Robert
                                         Griffin, CEO of Jack Cooper, and Mark Gendregske,
                                         CEO of Allied.

                                  Jack Cooper would complete its review and due diligence of the
                                  items listed in this item 1 by March 22, 2012.

                                  2. Jack Cooper would provide to Yucaipa only (and not Allied)
                                  the following due diligence items prior to signing the Definitive
                                  Agreements:

                                     (a) Prompt access on March 8, 2012 to Jack Cooper’s
                                         password protected investor website.

                                     (b) As soon as reasonably available, access to any
                                         solicitation materials provided in connection with
                                         obtaining the Lenders Consent to holders of notes issued
                                         under Jack Cooper’s 12 3A% Senior Secured Notes Due
                                         2015.

                                     (c)   Subject to mutually agreed to confidentiality restrictions,
                                           all other documents or information with respect to Jack
                                           Cooper and its affiliates and investments as reasonably
                                           requested by Yucaipa and agreed to by Jack Cooper for
                                           purposes of completing its due diligence.

                                  Yucaipa would complete its review and due diligence of the
                                  items listed under clauses (a) and (c) in this item 2 by March 22,
                                  2012.




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 30 of 158 PageID #: 265




                                  3. As of the date of signing the Definitive Agreements, Allied
                                  shall have the following:

                                           (a) average cash book balance of not less than
                                               $4,000,000 over a 10-day period prior to the signing
                                               date; and
                                           (b) average accounts receivable, net of contras, of not
                                               less than $9,000,000 over a 10-day period prior to
                                               the signing date.

                                  4. Based upon final but unsigned Definitive Agreements, Jack
                                  Cooper would obtain the consent of its lenders and investors to
                                  consummate the Proposed Transactions (the "Lenders
                                  Consent").

                                  5. Simultaneous with the signing of the Definitive Agreements,
                                  Yucaipa and Buyer would sign one or more definitive
                                  agreements governing their respective actions in connection
                                  with the Bankruptcy Process (as hereinafter defined).

                                  6 Simultaneous with the signing of the Definitive Agreements,
                                  Buyer would sign definitive agreements with CIT, Black
                                  Diamond, and Spectrum (the "Other Sellers Definitive
                                  A~reements) for the purchase of all the claims under the Credit
                                  Agreements held by CIT, Black Diamond, and Spectrum, and,
                                  simultaneous with the signing of such Other Sellers Definitive
                                  Agreements, such parties would prepare, execute, and deliver
                                  all agreements or other documentation necessary to effect the
                                  following (each of which would be effective as of the First
                                  Closing Date):

                                     (a)   The settlement and dismissal with prejudice of all claims
                                           and counterclaims in that certain lawsuit styled as
                                           BDCM Opportunity Fund II, LP, Black Diamond CLO
                                           2005-1 L TD, and Spectrum Investment Partners, L.P.
                                           vs. Yucaipa American Alliance Fund I., LP and Yucaipa
                                           American Alliance (Parallel)Fund I, LP, in the
                                           Supreme Court of the State of New York, New York
                                           County, Index No. __ (filed on or about January
                                           18,2012).

                                     (b) CIT’s, Black Diamond’s, and Spectrum’s respective
                                           retroactive affirmation of Amendment No. 4 to Credit
                                           Agreement, dated August 21, 2009.

                                     (c) Amendment of the Loan Documents to provide that




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 31 of 158 PageID #: 266




                                              Buyer may acquire claims under the Loan Documents as
                                              an "Eligible Assignee" and become the "Requisite
                                              Lender" with all rights associated therewith, including,
                                              but not limited to, the right to vote its acquired claims
                                              and to direct that actions be undertaken as may be
                                              allowed pursuant to the Loan Documents.

                                          (d) CIT’s agreement as the Administrative Agent under the
                                              First Lien Credit Agreement (on behalf of itself and its
                                              successors) that CIT would not contest that Yucaipa
                                              holds claims constituting "Requisite Lenders" and
                                              Buyer (or its designee) would be an Eligible Assignee
                                              and would hold claims constituting Requisite Lenders
                                              under the First Lien Credit Agreement upon purchasing
                                              all of the claims against Allied under the First Lien
                                              Credit Agreement held by Yucaipa.

                                       7 The Other Sellers Definitive Agreements entered into with
                                       CIT would provide for CIT’s cooperation (in its capacity as
                                       Administrative Agent and Collateral Agent under the First Lien
                                       Credit Agreement) in effectuating a credit bid as part of the 363
                                       Sale as contemplated herein; provided, however, CIT would not
                                       be required to remain as Administrative Agent or Collateral
                                       Agent under the First Lien Credit Agreement. In the event CIT
                                       would resign as Administrative Agent and/or Collateral Agent
                                       under the First Lien Credit Agreement, Buyer, Allied, and
                                       Yucaipa each would use its reasonable best efforts to replace
                                       CIT with a third party that would be willing to cooperate in
                                       effectuating a credit bid as part of the 363 Sale as contemplated
                                       herein.

                                       8 In order to facilitate the consummation of the Proposed
                                       Transactions, Jack Cooper, Allied, and Yucaipa would motion
                                       the court in the Allied-Jack Cooper Lawsuit (as hereinafter
                                       defined) to extend the discovery deadline until May 31, 2012
                                       and would agree to further motion such court to further extend
                                       the discovery deadline as necessary to prevent having
                                       depositions held while the parties are attempting to consummate
                                       the Proposed Transactions.

         Conditions Precedent to the   The following conditions precedent would have to be satisfied
         First Closing:                or waived on or prior to the First Closing Date:

                                       1. Within three (3) business days of Jack Cooper obtaining the
                                       Lenders Consent and the parties signing the Definitive
                                       Agreements, Jack Cooper and Yucaipa would (and/or Yucaipa




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 32 of 158 PageID #: 267




                                  would cause Allied to) make a Hart-Scott-Rodino filing for the
                                  completion of the Debt Purchase Transaction and 363 Sale.

                                  2. The expiration or termination of any applicable waiting
                                  periods under the Hart-Scott-Rodino Act applicable to the
                                  purchase of the Purchased Debt and the consummation of the
                                  363 Sale described below (the "ItSR Clearance").

                                  3. All commitments to make advances or issue new letters of
                                  credit under the First Lien Credit Agreement would be
                                  terminated.

                                  4. Proof of Yucaipa, Allied, and CIT delivering evidence of
                                  releases of certain claims against each other in that certain
                                  lawsuit styled as Allied Systems Holdings, Inc., gucaipa
                                  American Alliance Fund I., LP and Yucaipa American Alliance
                                  (Parallel) Fund I, LP vs. The CIT Group/Business Credit, Inc.,
                                  In the Superior Court of Fulton County, Georgia, Case No.
                                  2009CF177574 (J. GogeO.

                                  5. Settlement and dismissal with prejudice of all claims and
                                  counterclaims in that certain lawsuit styled as Allied Systems
                                  Holdings, Inc. vs. T. Michael Riggs, IEP Carhaul LLC, Jack
                                  Cooper Transport Company, Inc., and Active Carhaul
                                  Acquisition, Inc. vs. The gucaipa Companies, LLC and Mark J.
                                  Gendregske; in the Superior Court of Cobb County, Georgia,
                                  Civil Action File No. CV-09-1-10536-48 (the "Allied-Jack
                                  Cooper Lawsuit"), to be effective as of the Second Closing
                                  Date.

                                  6. As of the First Closing Date: (a) the total outstanding
                                  principal amount under the First Lien Credit Agreement would
                                  not exceed $265,000,000 less the amount of any commitments
                                  that have been terminated before the First Closing Date; (b) the
                                  total outstanding principal amount under the Second Lien Credit
                                  Agreement would not exceed $30,000,000; and (c) Yucaipa
                                  would hold a majority of the voting shares of Allied and would
                                  have the power to elect the majority of the members of the
                                  Board of Directors of Allied.

                                  7. Yucaipa (in its capacity as equity holder) and Allied would
                                  enter into one or more cooperation and support agreements with
                                  respect to the Allied bankruptcy filings and the 363 Sale as
                                  further described below (the "Cooperation A~reements").

                                  8. Proof reasonably satisfactory to Jack Cooper that Allied has




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 33 of 158 PageID #: 268




                                  prepared all documents and taken all steps necessary to file its
                                  bankruptcy cases in the Bankruptcy Court.

         Jack Cooper Notes:       1. Jack Cooper Holdings Corp. would have the right and option
                                  at any time to purchase for cash all Jack Cooper Notes held by
                                  Yucaipa at par plus accrued and unpaid interest, with no
                                  premium or penalty payment.

                                  2. Yucaipa would agree to not purchase any Jack Cooper Notes
                                  (other than the notes part of the Purchased Debt Purchase Price)
                                  for two (2) years after the closing, except if the Jack Cooper
                                  Notes trade below a certain price to be agreed.

         Restrictive Covenants:   Yucaipa would agree to a three (3)-year restrictive covenant
                                  covering the provision of car haul delivery, brokerage, and
                                  related services (to be agreed upon) in the United States,
                                  Canada, and Mexico providing for (a) non-competition, (b) non-
                                  solicitation of customers, vendors, and senior employees, and
                                  (c) mutual confidentiality and mutual non-disparagement
                                  restrictions - in each case subject to customary exceptions to be
                                  agreed upon.

         HSR Clearance:           If and upon Jack Cooper obtaining the Lenders Consent and the
                                  parties executing the Definitive Agreements, Jack Cooper
                                  would use its reasonable best efforts to obtain HSR Clearance
                                  for the completion of the Debt Purchase Transaction and the
                                  363 Sale; provided, however, Buyer would not be required to
                                  make any divestiture, enter into any consent decree, or
                                  otherwise accept any operational restriction with respect to
                                  Allied and its assets and operations that would be reasonably
                                  likely to have a material impact on the value of Allied and its
                                  assets and operations. Yucaipa and Allied would each use its
                                  reasonable best efforts in cooperating in preparing and making
                                  all filings and responding to all governmental requests relating
                                  solely to information as necessary to obtain HSR Clearance.
                                  Specific procedures and mutual covenants regarding obtaining
                                  HSR Clearance to be mutually agreed. If after Buyer has used
                                  its reasonable best efforts as described in this section and has
                                  satisfied the other procedures and covenants and Yucaipa and
                                  Allied have each used its reasonable best efforts in cooperating
                                  as described in this section, there is entered a final, non-
                                  appealable order prohibiting the completion of the Debt
                                  Purchase Transaction and/or the 363 Sale due to HSR issues,
                                  then Jack Cooper would be obligated to promptly pay to
                                  Yucaipa $10 million in cash (as exclusive and liquidated
                                  damages) and any Definitive Agreements executed hereafter to




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 34 of 158 PageID #: 269




                                    consummate the Proposed Transactions would be automatically
                                    terminated.


                                       363 Sale Specific Terms

         Structure of 363 Sale:     Between the First Closing Date and the Second Closing Date,
                                    Buyer anticipates purchasing substantially all of the assets of
                                    Allied, free and clear of all liens, claims, and other
                                    encumbrances, pursuant to a sale under Section 363 of the
                                    Bankruptcy Code (the "Bankruptcy Process"). In addition,
                                    Buyer would expect to have Allied assume and assign certain
                                    customer contracts, supply agreements, leases, license
                                    agreements, and other executory contracts, which executory
                                    contracts would be designated by Buyer in its sole and absolute
                                    discretion. Except as specifically agreed upon and designated
                                    by Buyer in the Cooperation Agreements that would be
                                    executed by Buyer, Yucaipa, and Allied, Buyer would not
                                    assume or otherwise be responsible for any indebtedness, trade
                                    payables, or other liabilities or obligations of Allied or its
                                    bankruptcy estate whatsoever, contingent or otherwise.

         363 Sale Purchase Price:   Credit bid of all lender claims against Allied under the Credit
                                    Agreements, it being understood that the Definitive Agreements
                                    and the Other Sellers Definitive Agreements would obligate
                                    CIT (as Administrative Agent and Collateral Agent under the
                                    First Lien Credit Agreement) to effectuate a credit bid up to par
                                    plus accrued and unpaid interest.

         Si~nin~ and Closin~ 363    The Cooperation Agreements among Yucaipa, Allied, and
         Sale:                      Buyer would be signed simultaneous with the signing of the
                                    Definitive Agreements.

                                    On or about the First Closing Date, Allied would file its
                                    bankruptcy cases in the Bankruptcy Court to allow for the 363
                                    Sale as contemplated herein.

                                    The Bankruptcy Process would be expected to take no longer
                                    than ninety (90) days, subject to any delays occasioned by the
                                    Bankruptcy Court’s calendar.

         Bankruptcy and HSR         Within three (3) business days of Jack Cooper obtaining the
         Filings:                   Lenders Consent and the parties executing the Definitive
                                    Agreements, Yucaipa (and Yucaipa would cause Allied to) and
                                    Buyer would make a Hart-Scott-Rodino filing to obtain the
                                    HSR Clearance.




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 35 of 158 PageID #: 270




                                      On or about the First Closing Date, Allied would file a motion
                                      and form of order, both in form and substance acceptable to
                                      Buyer in its sole and absolute discretion, seeking approval of
                                      the 363 Sale, a customary break-up fee, and certain other bid
                                      protections, including, but not limited to, a minimum overbid
                                      and minimum bidding increments, acceptable to Buyer in its
                                      sole and absolute discretion (collectively, the "Bid
                                      Protections"), pursuant to Section 363 of the Bankruptcy Code.
                                      Pursuant to the Cooperation Agreements, Allied and Yucaipa
                                      would seek to promptly obtain approval by the Bankruptcy
                                      Court of the Bid Protections and the 363 Sale.

         Purchase of Debt Held by     Prior to the closing of or in connection with the 363 Sale, Jack
         Non-Consentin~ Lenders:      Cooper would purchase all outstanding debt claims against
                                      Allied under the First Lien Credit Agreement held by any non-
                                      consenting lender(s) for a purchase price up to par plus accrued
                                      and unpaid interest.

         Failure to Close 363 Sale:   In the event Buyer is unable to acquire the assets of Allied
                                      (other than due to Buyer’ s (i) breach of or failure to comply
                                      with its covenants under the Definitive Agreements or (ii)
                                      failure to purchase all of the claims under the First Lien Credit
                                      Agreement) pursuant to a 363 Sale, a state foreclosure
                                      proceeding, or some other procedure as determined by Buyer
                                      within 180 days of the First Closing Date, then the Debt
                                      Purchase Transaction would be considered void ab imtio and of
                                      no further force or effect and any Definitive Agreements
                                      executed hereafter to consummate the Proposed Transactions
                                      would be terminated.

                                             General Terms

         Transaction Costs:           Each party shall be responsible for its own individual costs and
                                      expenses, specifically including costs and expenses of legal
                                      counsel and other advisors, to negotiate, document, and
                                      implement the Proposed Transactions.

         Nonbindin~ Provisions:       Each party acknowledges and agrees that the provisions of this
                                      Term Sheet do not create or constitute any legally binding
                                      obligations among the parties. The parties do not intend to be
                                      bound by the provisions of this Term Sheet, and no party shall
                                      have any liability to the other parties hereto with respect to the
                                      terms of this Term Sheet. No party may reasonably rely on any
                                      promises inconsistent with this paragraph.




         10-




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 36 of 158 PageID #: 271




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        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 37 of 158 PageID #: 272




                                                Schedule 1

                                         List of Loan Documents

                 First Lien Credit Agreement Documents (all as amended and restated, including all
                 amendments and restatements thereto)

                    Credit Agreement
                    Pledge and Security Agreement
                    Intellectual Property Security Agreements
                    Notes
                    Mortgages
                    Guaranties
                    Intercreditor Agreements
                    Canadian Pledge and Security Agreement
                    Affirmation Agreement
                    Any and all waiver letters or agreements
                    Any and all forbearance agreements
                    Evidence of the right of Requisite Lenders to accelerate the obligations under the
                    First Lien Credit Agreement



                 Second Lien Credit Agreement Documents (all as amended and restated, including all
                 amendments and restatements thereto)

                    Credit Agreement
                    Pledge and Security Agreement
                    Intellectual Property Security Agreements
                    Notes
                    Mortgages
                    Guaranties
                    Intercreditor Agreements
                    Canadian Pledge and Security Agreement
                    Affirmation Agreement
                    Any and all waiver letters or agreements
                    Any and all forbearance agreements




         12-




Confidential                                                                                  YUCAIPA831207
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 38 of 158 PageID #: 273




                      EXHIBIT 5
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 39 of 158 PageID #: 274
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 40 of 158 PageID #: 275
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 41 of 158 PageID #: 276
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 42 of 158 PageID #: 277




                      EXHIBIT 6
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 43 of 158 PageID #: 278
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 44 of 158 PageID #: 279
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 45 of 158 PageID #: 280
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 46 of 158 PageID #: 281
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 47 of 158 PageID #: 282
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 48 of 158 PageID #: 283
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 49 of 158 PageID #: 284
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 50 of 158 PageID #: 285
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 51 of 158 PageID #: 286
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 52 of 158 PageID #: 287
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 53 of 158 PageID #: 288
Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 54 of 158 PageID #: 289




                      EXHIBIT 7
        Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 55 of 158 PageID #: 290




     From:                                 Neal Clemens
     Sent:                                 Wednesday, March 21, 2012 2:44 PM
     To:                                   Les Meier
     Cc:                                   Rich Ehrlich
     Subject:                              RE: Allied Holdings - Black Diamond


     I will speak with them.
     My phone has not rung beyond the request for their audit confirm.
     I have however tried to call Solmaria and not received return calls.

     Neal



     From: Les Meier
     Sent: Wednesday, March 21, 2012 2:21 PM
     To: Neal Clemens
     Cc: Rich Ehrlich
     Subject: RE: Allied Holdings - Black Diamond

     Neal-WTF?


     From: Rich Ehrlich
     Sent: Wednesday, March 21, 20121:19 PM
     To: Les Meier
     Subject: FW: Allied Holdings - Black Diamond
     Importance: High

     See below. Call to discuss.



      Richard Ehrlich
      Black Diamond Capital Management, L.L.C.
      1 Sound Shore Drive, Suite 200
      Greenwich, CT 06830
      (203) 552-0888 (phone)
      (203) 552-1014 (fax)
     .r:~b.rl.i.£b.@.!lfl.£!!'!,.~Q.l!l.



     From: Jeffrey Schaffer [mailto:JSchaffer@spectrumgp.com]
     Sent: Wednesday, March 21, 2012 2:08 PM
     To: Rich Ehrlich
     Cc: Solmaria Velez
     Subject: FW: Allied Holdings - Black Diamond
     Importance: High

      Rich,




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       Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 56 of 158 PageID #: 291


     See below trail. Looks like Brad Schaefer from BO and Tim Dable from Winston have been unresponsive for about 5
     weeks. In any case, they are saying that we have to pay 75% of any transfer fee, which is not OK, it should be split
     equally. But on all of our other trades there has been no fee, so not sure why there would even be one here. And they
     are saying that you won't agree to mutual more expansive big boy language than what is in the normal lsta, which also
     doesn't make sense given how much knowledge we each have. Please get this closed this week. We cannot file an
     involuntary without it done. Ive ccd: Solmaria, our closer so that you can let he know when you have been able to get
     the logjam moving at BD
     Thanks,
     Jeff



     *PLEASE NOTE OUR NEW FLOOR

     Jeffrey A. Schaffer
     SPECTRIDI GROUP MANAGEME~T
     1250 Broadway, 191h Floor•
     New York, NY 10001
     Phone: 212-687-9555
     Fax: 212-983-2322
     Email: jschaffer@spectrumgp.com




     From: Solmaria Velez
     Sent: Wednesday, March 21, 2012 1:11 PM
     To: Jeffrey Schaffer
     Subject: FW: Allied Holdings· Black Diamond
     Importance: High

      Below is the email trail containing the back and forth on the Allied trade documents with Black Diamond.



        ~~~~~~--·~~~-


      *PLEASE NOTE OUR NEW FLOOR AND
      PERSONAL PHONE EXTENSION

     Solmaria Velez
     Director of Operations & Controller
      SPECTRU)f GROUP MANAGEME~T
                       1
      1250 Broadway, 19 h Floor•
      New York, NY 10001
      Phone: 212-687-9555 x402*
      Fax: 212-983-2322
      Cell: 602-540-0653
      Email: svelez@spectrumgp.com


     From: Solmaria Velez
     Sent: Monday, March 12, 2012 10:26 AM
     To: 'Dable, Tim'
     Cc: 'Brad Schaefer'
     Subject: RE: Allied Holdings - Black Diamond
     Importance: High


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Case 1:15-cv-00373-SLR Document 1-2 Filed 05/08/15 Page 57 of 158 PageID #: 292




                      EXHIBIT 8
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             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 58 1ofof158
                                                          Page        101PageID #: 293
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                                          Filed 05/17/12Page 59 2ofof158
                                                          Page        101PageID #: 294
Case 1:15-cv-00373-SLR   DocumentDoc
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                                          Filed 05/17/12Page 60 3ofof158
                                                          Page        101PageID #: 295
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 61 4ofof158
                                                          Page        101PageID #: 296
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                                          Filed 05/17/12Page 62 5ofof158
                                                          Page        101PageID #: 297
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             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 63 6ofof158
                                                          Page        101PageID #: 298
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                                          Filed 05/17/12Page 64 7ofof158
                                                          Page        101PageID #: 299
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                                          Filed 05/17/12Page 65 8ofof158
                                                          Page        101PageID #: 300
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 66 9ofof158
                                                          Page        101PageID #: 301
Case 1:15-cv-00373-SLR  Document
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                                             05/17/12 Page
                                                       Page6710
                                                              of of
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Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
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                                             05/17/12 Page
                                                       Page6811
                                                              of of
                                                                 158  PageID #: 303
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page6912
                                                              of of
                                                                 158  PageID #: 304
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7013
                                                              of of
                                                                 158  PageID #: 305
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7114
                                                              of of
                                                                 158  PageID #: 306
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7215
                                                              of of
                                                                 158  PageID #: 307
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7316
                                                              of of
                                                                 158  PageID #: 308
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7417
                                                              of of
                                                                 158  PageID #: 309
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7518
                                                              of of
                                                                 158  PageID #: 310
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7619
                                                              of of
                                                                 158  PageID #: 311
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7720
                                                              of of
                                                                 158  PageID #: 312
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7821
                                                              of of
                                                                 158  PageID #: 313
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page7922
                                                              of of
                                                                 158  PageID #: 314
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8023
                                                              of of
                                                                 158  PageID #: 315
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8124
                                                              of of
                                                                 158  PageID #: 316
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8225
                                                              of of
                                                                 158  PageID #: 317
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8326
                                                              of of
                                                                 158  PageID #: 318
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8427
                                                              of of
                                                                 158  PageID #: 319
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8528
                                                              of of
                                                                 158  PageID #: 320
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8629
                                                              of of
                                                                 158  PageID #: 321
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8730
                                                              of of
                                                                 158  PageID #: 322
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8831
                                                              of of
                                                                 158  PageID #: 323
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page8932
                                                              of of
                                                                 158  PageID #: 324
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9033
                                                              of of
                                                                 158  PageID #: 325
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9134
                                                              of of
                                                                 158  PageID #: 326
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9235
                                                              of of
                                                                 158  PageID #: 327
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9336
                                                              of of
                                                                 158  PageID #: 328
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9437
                                                              of of
                                                                 158  PageID #: 329
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9538
                                                              of of
                                                                 158  PageID #: 330
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9639
                                                              of of
                                                                 158  PageID #: 331
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9740
                                                              of of
                                                                 158  PageID #: 332
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9841
                                                              of of
                                                                 158  PageID #: 333
                                                                    101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page9942
                                                              of of
                                                                 158  PageID #: 334
                                                                    101
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 100
                                                          Page 43ofof158
                                                                      101PageID #: 335
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 101
                                                          Page 44ofof158
                                                                      101PageID #: 336
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 102
                                                          Page 45ofof158
                                                                      101PageID #: 337
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 103
                                                          Page 46ofof158
                                                                      101PageID #: 338
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 104
                                                          Page 47ofof158
                                                                      101PageID #: 339
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 105
                                                          Page 48ofof158
                                                                      101PageID #: 340
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 106
                                                          Page 49ofof158
                                                                      101PageID #: 341
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 107
                                                          Page 50ofof158
                                                                      101PageID #: 342
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 108
                                                          Page 51ofof158
                                                                      101PageID #: 343
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 109
                                                          Page 52ofof158
                                                                      101PageID #: 344
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 110
                                                          Page 53ofof158
                                                                      101PageID #: 345
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 111
                                                          Page 54ofof158
                                                                      101PageID #: 346
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 112
                                                          Page 55ofof158
                                                                      101PageID #: 347
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 113
                                                          Page 56ofof158
                                                                      101PageID #: 348
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 114
                                                          Page 57ofof158
                                                                      101PageID #: 349
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 115
                                                          Page 58ofof158
                                                                      101PageID #: 350
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 116
                                                          Page 59ofof158
                                                                      101PageID #: 351
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 117
                                                          Page 60ofof158
                                                                      101PageID #: 352
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 118
                                                          Page 61ofof158
                                                                      101PageID #: 353
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 119
                                                          Page 62ofof158
                                                                      101PageID #: 354
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 120
                                                          Page 63ofof158
                                                                      101PageID #: 355
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 121
                                                          Page 64ofof158
                                                                      101PageID #: 356
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 122
                                                          Page 65ofof158
                                                                      101PageID #: 357
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 123
                                                          Page 66ofof158
                                                                      101PageID #: 358
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 124
                                                          Page 67ofof158
                                                                      101PageID #: 359
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 125
                                                          Page 68ofof158
                                                                      101PageID #: 360
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 126
                                                          Page 69ofof158
                                                                      101PageID #: 361
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 127
                                                          Page 70ofof158
                                                                      101PageID #: 362
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 128
                                                          Page 71ofof158
                                                                      101PageID #: 363
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 129
                                                          Page 72ofof158
                                                                      101PageID #: 364
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 130
                                                          Page 73ofof158
                                                                      101PageID #: 365
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 131
                                                          Page 74ofof158
                                                                      101PageID #: 366
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 132
                                                          Page 75ofof158
                                                                      101PageID #: 367
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 133
                                                          Page 76ofof158
                                                                      101PageID #: 368
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 134
                                                          Page 77ofof158
                                                                      101PageID #: 369
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 135
                                                          Page 78ofof158
                                                                      101PageID #: 370
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 136
                                                          Page 79ofof158
                                                                      101PageID #: 371
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 137
                                                          Page 80ofof158
                                                                      101PageID #: 372
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 138
                                                          Page 81ofof158
                                                                      101PageID #: 373
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 139
                                                          Page 82ofof158
                                                                      101PageID #: 374
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 140
                                                          Page 83ofof158
                                                                      101PageID #: 375
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 141
                                                          Page 84ofof158
                                                                      101PageID #: 376
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 142
                                                          Page 85ofof158
                                                                      101PageID #: 377
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 143
                                                          Page 86ofof158
                                                                      101PageID #: 378
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 144
                                                          Page 87ofof158
                                                                      101PageID #: 379
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 145
                                                          Page 88ofof158
                                                                      101PageID #: 380
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 146
                                                          Page 89ofof158
                                                                      101PageID #: 381
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 147
                                                          Page 90ofof158
                                                                      101PageID #: 382
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 148
                                                          Page 91ofof158
                                                                      101PageID #: 383
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 149
                                                          Page 92ofof158
                                                                      101PageID #: 384
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 150
                                                          Page 93ofof158
                                                                      101PageID #: 385
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 151
                                                          Page 94ofof158
                                                                      101PageID #: 386
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 152
                                                          Page 95ofof158
                                                                      101PageID #: 387
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 153
                                                          Page 96ofof158
                                                                      101PageID #: 388
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 154
                                                          Page 97ofof158
                                                                      101PageID #: 389
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 155
                                                          Page 98ofof158
                                                                      101PageID #: 390
Case 1:15-cv-00373-SLR   DocumentDoc
             Case 12-11564-CSS    1-2 6 Filed 05/08/15
                                          Filed 05/17/12Page 156
                                                          Page 99ofof158
                                                                      101PageID #: 391
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page157 of of
                                                             100  158  PageID #: 392
                                                                     101
Case 1:15-cv-00373-SLR  Document
            Case 12-11564-CSS Doc1-26 Filed
                                       Filed05/08/15
                                             05/17/12 Page
                                                       Page158 of of
                                                             101  158  PageID #: 393
                                                                     101
